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   B2100A (Form 2100A) (12/15)


                             United States Bankruptcy Court
                             _______________
                             Southern        District Of _______________
                                                         Ohio

         John Michael Smilo & Traci Lynn Smilo
   In re ______________________________,                                     2:17-bk-53776
                                                                    Case No. ________________



                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY
   A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
   Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
   transfer, other than for security, of the claim referenced in this evidence and notice.
    US BANK TRUST NATIONAL ASSOCIATION                                         U.S. Bank National Association, not in
    AS TRUSTEE OF CABANA SERIES III TRUST                                      its individual capacity but solely as
                                                                               trustee of NRZ Pass-Through Trust V-B
   ______________________________________                                      ____________________________________
              Name of Transferee                                                           Name of Transferor

   Name and Address where notices to transferee                                 Court Claim # (if known): 6
   should be sent:                                                              Amount of Claim: $93,174.91
   c/o BSI Financial Services                                                   Date Claim Filed: 10/27/2017
   1425 Greenway Drive, Suite 400
   Irving, TX 75038
          972-347-4350
   Phone: ______________________________                                               (800) 315-4757
                                                                               Phone: __________________________
                               9638
   Last Four Digits of Acct #: ______________                                                               1398
                                                                               Last Four Digits of Acct. #: __________

   Name and Address where transferee payments
   should be sent (if different from above):
   c/o BSI Financial Services
   1425 Greenway Drive, Suite 400
   Irving, TX 75038
   Phone: _______________________________
                               9638
   Last Four Digits of Acct #: _______________



   I declare under penalty of perjury that the information provided in this notice is true and correct to the
   best of my knowledge and belief.

      /s/ Michelle Ghidotti
   By:__________________________________                                             1/10/2019
                                                                                Date:____________________________
           Transferee/Transferee’s Agent


   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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